   Case: 1:19-cv-00351 Document #: 42 Filed: 04/04/19 Page 1 of 2 PageID #:3044




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


TRIAS HOLDING AG,
                                                    Case No. 19-cv-00351
                      Plaintiff,
      v.                                            Judge Manish S. Shah

MCMOUTLETSTORES.US.ORG, et al.,                     Magistrate Judge Mary M. Rowland

                      Defendants.


                    NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

      Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Trias Holding

AG (“MCM” or “Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendants:

            Defendant Name                                         Line No.
       Yiwu Luanli Trading Co., Ltd.                                  27
                  autoebuy                                            61
           beautysunshine1234                                         62
                bloomcc677                                            64
                   botinx0                                            65
            chengzhougongji                                           66
             chenyuluoyan_1                                           67
              cuimayangbian                                           68
               fengmangbilu                                           71
            huhushengwei905                                           72
              hw4euizh2ui-1                                           73
                jinxinzuoshi                                          74
             mybeststore100                                           75
                  payupin-0                                           76
                   pzf2011                                            77
                shaolinyan0                                           78
               sporting_shop                                          79
              super_deal321                                           80
                  super846                                            81
             yanyanxiari006                                           83
                 yutian-123                                           84


                                              1
   Case: 1:19-cv-00351 Document #: 42 Filed: 04/04/19 Page 2 of 2 PageID #:3044




Dated this 4th day of April 2019.    Respectfully submitted,

                                     /s/ RiKaleigh C. Johnson
                                     Paul G. Juettner
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     pjuettner@gbc.law
                                     jgaudio@gbc.law
                                     rjohnson@gbc.law

                                     Counsel for Plaintiff Trias Holding AG




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